 

Case 2: O2- --cr 2

UN|TED STATES D!STWCT C©URT

.¢\:l

Western District of Tennessee
':_T_E'J

oRDER HoLDiNG PRoBAT?oNER
FoR REvocArioN HEARIN'do

5 if eat 98
l

¢

United States of America
v. ;Z\.EF"“ -f~i.,;
a _ _+»
Case Number: 02-20299-05-§§£!3~ ,__

Tarra L. Brown

 

On April 22 2005 the defendant appeared before me on a charge of violation of the terms
upervised release in this matter. The defendant was or had been advised

and conditions of her s
of his rights under Rules 5 and 32. l(a)(l), Federal Rules of Criminal Procedure and counsel Was

appointed.
At this hearing, the defendant Was released on bond and therefore, a prelimlnary hearing

Unlted States V. Sciuto, 531 F.2d 842, 846 (7th Cir. 1976)

 

on the violation was not required. See
United States v Tucker 524 F.2d 77, 78 (5th Cir. 1975), cert. denied 424 U S 966 96 S Ct

 

1462, 47 L.Ed.2d 733(1976).
Accordingly, the defendant is held to a final revocation hearing before Judge Bernice

d It is presumed that the United States District Court Will set this matter for a revocation

Donal .
hearing pursuant to Federal Rule of Criminal Procedure 32. l(a)(2) and Will see that appropriate

notices are given.
/' /"”"F
<:‘S /AW/K @2)

S Thomas Ana'erson, United Srates Magistrate fudge

Dare. //M! 277§./9?£2{

This document entered on the docket s t in g?)_m&liance
with Rule 55 and/or 32(b) FRch on Z 5‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 198 in
case 2:02-CR-20299 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

